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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


ADRIAN STEWART,                                 )
                                                )
               Petitioner,                      )
                                                )
v.                                              )   CIVIL ACTION NO. 2:17-CV-200-WHA
                                                )    (wo)
LEON BOLLING, et al.,                           )
                                                )
               Respondents.                     )


                                       FINAL JUDGMENT

       In accordance with the Order entered in this case on this day,

       Final Judgment is entered in favor of the Respondents and against the Petitioner, and this

case is DISMISSED with prejudice.

       The Clerk of the Court is DIRECTED to enter this document on the civil docket as a final

judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.




       Done this 25th day of September, 2020.


                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNTIED STATE DISTRICT JUDGE
